      Case 1-19-42688-cec         Doc 2    Filed 05/02/19     Entered 05/02/19 10:16:38




                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NEW YORK
____________________________________
                                     :   Case No. 1-19-42688-ced
In re:
                                     :
Renee Maslikhov aka Renee Butler         Chapter 11
                                     :

              Debtor(s).             :
____________________________________


      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES

        The undersigned represents the Standard Oil Credit Holding Group, LLC, a secured creditor
herein, and hereby notices his appearance pursuant to the Federal Rule of Bankruptcy Procedure
9010, and requests service of all notices pursuant to Federal Rule of Bankruptcy Procedure 2002.
        Please serve all notices, regardless of form, on:

                       NORGAARD O’BOYLE
                       184 Grand Avenue
                       Englewood, New Jersey 07631
                       Telephone Number (201) 871-1333

        Nothing herein shall relieve the debtor or any party from service required by due process of
law, the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and/or the local rules of
practice. This demand requires an additional notice and does not alleviate responsibility of any
notice previously required and/or served. Any distributions made should be sent directly to the
Secured Creditor pursuant to the filed Proof of Claim.

                              NORGAARD O’BOYLE
                              Attorneys for Secured Creditor.

                              By /s/ Karl J. Norgaard, Esq.
Dated: 5/2/19                     KARL J. NORGAARD, ESQ. [4764]
                                  184 Grand Avenue
                                  Englewood, New Jersey 07631
                                  Telephone No. (201) 871-1333
                                  Fax No. (201) 871-3161
